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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

PRASHANT KALAVAR and                         )
SHWETA KALAVAR,                              )
                                             )
      Plaintiff,                             )
                                             )     CIVIL ACTION FILE NO.
vs.                                          )     ______________________
                                             )
SAFECO INSURANCE COMPANY                     )
OF INDIANA                                   )
                                             )
      Defendant.                             )

       SAFECO INSURANCE COMPANY OF INDIANA’S ANSWER
            TO PLAINTIFFS’ PRASHANT KALAVAR AND
                SHWETA KALAVER’S COMPLAINT

      COMES NOW Defendant, Safeco Insurance Company of Indiana (“Safeco”

or “Defendant”), by and through its undersigned counsel, within the time limits

allowed by law, without waiver of any affirmative defenses raised herein, and timely

states its Answer to Plaintiffs’ Prashant Kalavar and Shweta Kalavar (“Plaintiffs”)

Complaint (the “Complaint”).

      Safeco responds to the individually numbered paragraphs of the Complaint as

follows:




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                        JURISIDICTION AND VENUE

                                         1.

      Safeco is without knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraph 1 of the Complaint and such

allegations are deemed denied.

                                         2.

       In responding to the allegations contained in Paragraph 2 of the Complaint,

Safeco admits only that it is an insurance company which is registered to transact

business in, and is doing business in, the State of Georgia and that it may be served

with process through its registered agent, Corporation Service Company at 2 Sun

Court, Suite 400, Peachtree Corners, Georgia 30092. Safeco denies the remaining

allegations contained in Paragraph 2 of the Complaint.

                                         3.

      Safeco admits the allegations contained in Paragraph 3 of the Complaint, but

states that this matter has properly been removed from the Superior Court of DeKalb

County to the United States District Court for the Northern District of Georgia,

Atlanta Division.




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                           STATEMENT OF FACTS

                                        4.

       In responding to the allegations contained in Paragraph 4 of the Complaint,

Safeco admits only that Safeco Insurance Company of Indiana issued Policy No.

OX5948543 to named insureds Prashant Kalavar and Shweta Manjeshwa for

property located at 8030 Prestick Circle, Duluth Georgia 30097 (the “Property”),

with a policy period of July 27, 2021 to July 27, 2022, which provides coverage in

accord with the terms, conditions, limitations and exclusions contained therein (the

“Policy”). Safeco denies the remaining allegations contained in Paragraph 4 of the

Complaint.

                                        5.

       In responding to the allegations contained in Paragraph 5 of the Complaint,

Safeco admits only that the Policy provides coverage in accord with the terms,

conditions, limitations and exclusions contained therein. Safeco denies the

remaining allegations contained in Paragraph 6 of the Complaint.

                                        6.

      Safeco is without knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraph 6 of the Complaint and such

allegations are deemed denied.

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                                          7.

      Safeco is without knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraph 7 of the Complaint and such

allegations are deemed denied.

                                          8.

      Safeco is without knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraph 8 of the Complaint and such

allegations are deemed denied.

                                          9.

      In responding to the allegations contained in Paragraph 9 of the Complaint,

Safeco admits only that Plaintiffs’ claim was assigned claim number 049942182 and

that a representative of Safeco inspected Plaintiffs’ dwelling on July 7, 2023. Safeco

denies the remaining allegations contained in Paragraph 9 of the Complaint.

                                         10.

      In responding to the allegations contained in Paragraph 10 of Plaintiffs’

Complaint, Safeco admits only that a portion of Plaintiffs’ claim was covered

pursuant the Policy. Safeco denies the remaining allegations contained in Paragraph

10 of the Complaint.




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                                 11.

Safeco denies the allegations contained in Paragraph 11 of the Complaint.

                                 12.

Safeco denies the allegations contained in Paragraph 12 of the Complaint.

                                 13.

Safeco denies the allegations contained in Paragraph 13 of the Complaint.

                                 14.

Safeco denies the allegations contained in Paragraph 14 of the Complaint.

                                 15.

Safeco denies the allegations contained in Paragraph 15 of the Complaint.

                                 16.

Safeco admits the allegations contained in Paragraph 16 of the Complaint.

                                 17.

Safeco denies the allegations contained in Paragraph 17 of the Complaint.

                                 18.

Safeco denies the allegations contained in Paragraph 18 of the Complaint.

                                 19.

Safeco denies the allegations contained in Paragraph 19 of the Complaint.




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                                         20.

      Safeco denies the allegations contained in Paragraph 20 of the Complaint.

                                         21.

      Safeco denies the allegations contained in Paragraph 21 of the Complaint.

                                         22.

      Safeco denies the allegations contained in Paragraph 22 of the Complaint.

                     COUNT 1: BREACH OF CONTRACT

                                         23.

      Safeco incorporates by this reference its responses to the allegations contained

in Paragraphs 1 through 22 of the Complaint as if fully stated herein.

                                         24.

      In responding to the allegations contained in Paragraph 24 of the Complaint,

Safeco admits only that it is required to compensate the Plaintiffs in accord with the

terms, conditions, limitations and exclusions contained in the Policy and Safeco

compensated those losses within the scope of coverages afforded. Safeco denies the

remaining allegations contained in Paragraph 24 of the Complaint.

                                         25.

       In responding to the allegations contained in Paragraph 25 of the Complaint,

Safeco admits only that the Policy provides coverage in accord with the terms,

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conditions, limitations and exclusions contained therein and Safeco compensated

the Plaintiffs for those losses within the scope of coverages afforded. Safeco denies

the remaining allegations contained in Paragraph 25 of the Complaint.

                                        26.

     Safeco denies the allegations contained in Paragraph 26 of the Complaint.

                                        27.

     Safeco denies the allegations contained in Paragraph 27 of the Complaint.

                                        28.

     Safeco denies the allegations contained in Paragraph 28 of the Complaint.

                                        29.

     Safeco denies the allegations contained in Paragraph 29 of the Complaint.

                                        30.

     Safeco denies the allegations contained in Paragraph 30 of the Complaint.

COUNT TWO – O.C.G.A. § 33-4-6: BAD FAITH, ATTORNEY’S FEES AND

                             LITIGATION COSTS

                                        31.

     Safeco denies the allegations contained in Paragraph 31 of the Complaint.

                                        32.

     Safeco denies the allegations contained in Paragraph 32 of the Complaint.

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                                         33.

      Safeco denies the allegations contained in Paragraph 33 of the Complaint.

                                         34.

      Safeco denies the allegations contained in Paragraph 34 of the Complaint.

                                         35.

      Safeco denies the allegations contained in Paragraph 35 of the Complaint.



      In responding to the allegations contained in the final “WHEREFORE”

paragraph of Plaintiff’s Complaint, Safeco states that said paragraph, including

subsections (A) – (E) contain no factual allegations, but only prayers for relief.

Consequently, no response to this paragraph is necessary. To the extent a response

may be deemed necessary, Safeco denies any factual allegations purportedly

contained in said paragraph and denies that Plaintiff is entitled to any of the relief

requested.

                          AFFIRMATIVE DEFENSES

      Having fully responded to Plaintiffs’ Complaint and without prejudice to the

denials or other averments contained therein, Safeco asserts the following

Affirmative Defenses pursuant to the Federal Rules of Civil Procedure:




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                                FIRST DEFENSE

      Safeco denies each and every allegation, statement, matter or thing in the

Complaint unless expressly admitted.

                               SECOND DEFENSE

      Plaintiffs’ Complaint fails to state a claim against Safeco upon which relief

can be granted.

                                THIRD DEFENSE

      Plaintiffs’ Complaint fails to state a claim against Safeco for the recovery of

attorney’s fees or penalties upon which relief can be granted.

                               FOURTH DEFENSE

      Plaintiffs’ Complaint fails to state a claim for “bad-faith” against Safeco upon

which relief can be granted.

                                FIFTH DEFENSE

      Plaintiffs’ claims for statutory penalties fails as a matter of law because

Safeco’s adjustment of the Plaintiffs’ claim was not frivolous or unfounded, was not

willful, not intentional, not unreasonable, not in bad faith, and not stubbornly

litigious, and Defendant has not caused Plaintiffs unnecessary trouble and expense.




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                                 SIXTH DEFENSE

      Plaintiffs have not sustained damage of the nature, and to the extent, claimed

in the Complaint, and they are precluded from the recovery they seek.

                               SEVENTH DEFENSE

      The relief requested by Plaintiffs is barred because no action or omission by

Safeco caused the Plaintiffs’ injury or damage.

                               EIGHTH DEFENSE

      Plaintiffs’ Complaint is barred, in whole or in some part, by the Affirmative

Defense of Payment.

                                NINTH DEFENSE

      The limit of insurance provided in the Policy is $610,000 for Coverage A –

Dwelling; $305,000 for Coverage C – Personal Property; and a $10,000 limit for

Fungi, Wet or Dry Rot, or Bacteria subject to a $1,000 deductible. While preserving

its other defenses as stated herein, and without prejudice thereto, to the extent

Plaintiffs sustained damage compensable under the Policy, which is explicitly

denied, Plaintiffs’ claim is limited by these provisions of the Policy.

                                TENTH DEFENSE

      The Policy issued by Safeco Insurance Company of Indiana to Prashant

Kalavar and Shweta Manjeshwa, at pages 1-7 of Form HOM-7030/EP 1/09,

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provides, in pertinent part:

             BUILDING PROPERTY LOSSES WE COVER

             We cover accidental direct physical loss to property
             described in Building Property We Cover except as
             limited or excluded.
             ______________________________________________

             BUILDING PROPERTY LOSSES WE DO NOT
             COVER

             We do not cover loss caused directly or indirectly by any
             of the following excluded perils. Such loss is excluded
             regardless of any other cause or event contributing
             concurrently or in any sequence to the loss:
                                           ***
             6.     a.      wear and tear, marring scratching,
                            deterioration;
                                           ***
                    e.      settling, cracking, shrinking, bulging, or
                            expansion of pavements, patios, foundations,
                            walls, floors, roofs, ceilings, swimming
                            pools, hot tubs, spas or chimneys;
                                           ***
             However, we do insure for any resulting loss from items
             1. through 6. unless the resulting loss is itself a Loss Not
             Insured by this Section.
                                         ***
             10. Water Damage, meaning:
                    a. (1) flood, surface water, waves, tidal water,
                            tsunami, seiche, overflow of a body of water,
                            storm surge or spray from any of these,
                            whether or not driven by wind, including
                            hurricane or similar storm; or
                        (2) release of water held by a dam, levee, dike or
                            by a water or flood control device or
                            structure;
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             b.    water below the surface of the ground,
                   including that which exerts pressure on, or
                   seeps or leaks through a building, wall,
                   bulkhead, sidewalk, driveway, foundation,
                   swimming pool, hot tub or spa, including
                   their filtration and circulation systems, or
                   other structure;
              c.   water which escapes or overflows from
                   sewers or drains located off the residence
                   premises;
              d. water which escapes or overflows from
                   drains or related plumbing appliances on the
                   residence premises. However, this exclusion
                   does not apply to overflow and escape caused
                   by malfunction on the residence premises,
                   or obstruction on the residence premises, of a
                   drain or plumbing appliance on the residence
                   premises; or
              e.   water which escapes or overflows or
                   discharges, for any reason, from within a
                   sump pump, sump pump well or any other
                   system designed to remove water which is
                   drained from the foundation area.
             Water includes any water borne materials.
             This exclusion applies whether the water damage is
             caused by or resulting from human or animal forces
             or any act of nature.
             Direct loss by fire, explosion or theft resulting from
             water damage is covered.
                                   ***
       12.   Neglect, meaning your failure to use all reasonable
             means to save and preserve property at and after the
             time of a loss, or when property is endangered.
                                   ***
       18.   Planning, Construction or Maintenance,
             meaning faulty, inadequate or defective:
             a.    planning, zoning, development, surveying,
                   siting;
                                   12
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                   b.    design, specifications, workmanship, repair,
                         construction,     renovation,  remodeling,
                         grading, compaction;
                   c.    materials used in repair, construction,
                         renovation or remodeling; or
                   d.    maintenance;

                   of property whether on or off the Insured location
                   by any person or organization. However, any
                   ensuing loss not excluded is covered.
                                            ***
            19.    Fungi, Wet or Dry Rot, or Bacteria meaning the
                   presence, growth, proliferation or spread of fungi, wet or
                   dry rot, or bacteria. This exclusion does not apply to the
                   extent coverage is provided for under Additional
                   Property Coverages— Fungi, Wet or Dry Rot, or
                   Bacteria in Section I — Property Coverages.

                                             ***

            PERSONAL PROPERTY LOSSES WE DO NOT
            COVER
            We do not cover loss caused directly or indirectly by any
            of the Building Property Losses We Do Not Cover. Such
            loss is excluded regardless of any other cause or event
            contributing concurrently or in any sequence to the loss.
            These exclusions apply whether or not the loss event
            results in widespread damage or affects a substantial area.

      Safeco offered and paid to the Plaintiffs all amounts arguably owing under

their claim pursuant to the terms and conditions of the Policy and made a good faith

effort to compensate Plaintiffs for all covered loss sustained. The Policy does not

provide coverage for Plaintiffs’ additional claimed losses based upon the provisions

of the Policy quoted above.
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                             ELEVENTH DEFENSE

      The Policy issued by Safeco Insurance Company of Indiana to Prashant

Kalavar and Shweta Manjeshwa, at pages 8 of Form HOM-7030/EP 1/09, provides,

in pertinent part:

             ADDITIONAL PROPERTY COVERAGES
             The following Additional Property Coverages are
             subject to all the terms, provisions, exclusions, and
             conditions of this policy.
                                         ***
             2.    Reasonable Repairs. We will pay up to the amount
                   stated in your Policy Declarations for the reasonable
                   cost you incur for necessary repairs made solely to
                   protect covered property from further damage,
                   following a covered loss. This coverage does not
                   increase the limit of liability applying to the
                   property being repaired.

      Safeco offered and paid to the Plaintiffs all amounts arguably owing under

their claim pursuant to the terms and conditions of the Policy and made a good faith

effort to compensate Plaintiffs for all covered loss sustained. The Policy does not

provide coverage for Plaintiffs’ additional claimed losses based upon the provisions

of the Policy quoted above. Any additional claim is for Plaintiff’s claimed losses are

not an applicable Peril Insured Against; were caused by a peril excluded under the

Policy and no further payment is due or owing for expenses incurred by the Plaintiff

for repairs performed, if any.



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                               TWELFTH DEFENSE

      The Policy issued by Safeco Insurance Company of Indiana to Prashant

Kalavar and Shweta Manjeshwa, at pages 9 of Form HOM-7030/EP 1/09, provides,

in pertinent part:

             10. Fungi, Wet or Dry Rot, or Bacteria. We will
             pay up to the amount stated in your Policy
             Declarations for:

      The Policy issued by Safeco Insurance Company of Indiana to Prashant

Kalavar and Shweta Manjeshwa, at pages 2 of 6 of Form HOM-7100/GAEP 9/19,

further provides, in pertinent part:

             Item 10. Fungi, Wet or Dry Rot, or Bacteria is deleted
             and replaced by the following:
             10. Fungi, Wet or Dry Rot, or Bacteria. In the event
                   a covered cause of loss results in damage to covered
                   property by Fungi, Wet or Dry Rot, or Bacteria,
                   we cover:
                   a.    the direct physical loss to covered property
                         caused by fungi, wet or dry rot, or bacteria
                         including the cost to remove fungi, wet or dry
                         rot, or bacteria from covered property, the
                         cost to tear out and replace any part of the
                         building or other covered property as needed
                         to gain access to the fungi, wet or dry rot, or
                         bacteria;
                   b.    consequential loss up to the Fungi, Wet or
                         Dry Rot, or Bacteria Remediation limit of
                         liability as stated in the Policy Declarations
                         for:
                         (1) the cost of any testing of air or property
                                 to confirm the absence, presence or
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                                 level of fungi, wet or dry rot, or
                                 bacteria, whether performed prior to,
                                 during or after removal, repair,
                                 restoration or replacement. The cost of
                                 such testing will be provided only to
                                 the extent that there is a reason to
                                 believe there is the presence of fungi,
                                 wet or dry rot, or bacteria;
                          (2)    the cost to treat, contain, remove or
                                 dispose of or remediate covered
                                 property beyond that which is required
                                 to repair or replace the covered
                                 property physically damaged by a peril
                                 insured against;

      Safeco offered and paid to the Plaintiffs all amounts arguably owing under

their claim pursuant to the terms and conditions of the Policy and made a good faith

effort to compensate Plaintiffs for all covered loss sustained. Further, Plaintiffs’

claimed losses are subject to the above Policy conditions and exclusions cited herein.

As a result, no further coverage is afforded pursuant to the Mold, Fungus, Wet Rot,

Dry Rot, Bacteria or Virus Endorsement for remediation of damage caused by Mold,

Fungus, Wet Rot, Dry Rot, Bacteria or Virus. To the extent that any portion of

Plaintiff’s remaining claimed losses are covered under the Policy, which is explicitly

denied, any payment is to be made in compliance with these provisions of the Policy.

                            THIRTEENTH DEFENSE

      The Policy issued by Safeco Insurance Company of Indiana to Prashant

Kalavar and Shweta Manjeshwa, at pages 12 of Form HOM-7030/EP 1/09, provides,
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in pertinent part:

             5.      Loss Settlement. Covered property losses are
                     settled as follows:

                     a.   Replacement Cost.              Property under
                          Coverage A or B, including fences, at
                          replacement cost, but not including those
                          items list in b.(2), b.(3) and (c) below subject
                          to the following:
                          (1) We will pay the full cost of repair or
                                 replacement, but not exceeding the
                                 smallest of the following amounts:
                                 (a) the limit of liability under the
                                       policy applying to Coverage A or
                                       B;
                                 (b) the replacement cost of that part
                                       of the damaged building or fence
                                       for equivalent construction and
                                       use on the same premises as
                                       determined shortly following the
                                       loss;
                                 (c) the full amount actually and
                                       necessarily incurred to repair or
                                       replace the damaged building or
                                       fence as determined shortly
                                       following the loss;
                                 (d) the direct financial loss you incur;
                                       or
                                 (e) our pro rata share of any loss
                                       when divided with any other valid
                                       and       collectible     insurance
                                       applying to the covered property
                                       at the time of loss.

                          (2)   When more than one layer of siding or
                                roofing exists for Building Property

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                        We Cover, we will pay for the
                        replacement of one layer only. The
                        layer to be replaced will be at your
                        option. The payment will be subject to
                        all other policy conditions relating to
                        loss payment.

                        When more than one layer of finished
                        flooring exists we will pay for the
                        finish of only one layer.

                  (3) If the cost to repair or replace is $2,500
                      or more, we will pay the difference
                      between actual cash value and
                      replacement cost only when the
                      damaged or destroyed property is
                      repaired or replaced.

                  (4) You may disregard the replacement cost
                      loss settlement provisions and make
                      claim under this policy for loss or
                      damage to buildings on an actual cash
                      value basis but not exceeding the
                      smallest of the following amounts:
                      (a) the applicable limit of liability;
                      (b) the direct financial loss you incur; or
                      (c) our pro rata share of any loss when
                          divided with any other valid and
                          collectible insurance applying to the
                          covered property at the time of loss.

                           You may still make claim on a
                           replacement cost basis by notifying
                           us of your intent to do so within 180
                           days after the date of loss.

             b.   Actual Cash Value.

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                           (1) Personal property       covered    under
                               Coverage C;

                           (2) Wood fences, outdoor antennae and
                               awnings, all whether attached or not to
                               buildings; and

                           (3) Structures that are not buildings under
                               Coverage B, except driveways,
                               walkways       and     other  structures
                               connected to the building by only a
                               fence, utility line, plumbing or similar
                               connection;

                                at actual cash value at the time of loss
                                not exceeding the amount necessary to
                                repair or replace.

         The Policy issued by Safeco Insurance Company of Indiana to Prashant

Kalavar and Shweta Manjeshwa, at Form HOM-7100/EP 9/19, provides, in pertinent

part:

               Under 5. Loss Settlement, item a.(3) is deleted and
               replaced by the following:
                     (3) If the cost to repair or replace is $2,500 or
                            more, we will pay the difference between
                            actual cash value and replacement cost only
                            when the damaged or destroyed property is
                            repaired or replaced.
               The following is added to 5. Loss Settlement:
                     c.     We will not pay for any loss in value of
                            property, whether actual or perceived, or
                            any;
                            (1) adverse impact on the ownership of,
                                   or transfer of ownership or title of
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                                 property; or
                          (2)    adverse impact on the acquisition of
                                 financing resulting from the covered
                                 physical damage to the property. If
                                 Mortgage Acquisition Expense
                                 Coverage or Mortgage Extra
                                 Expense Coverage is provided under
                                 Additional Property Coverages, the
                                 application of this provision (2) does
                                 not apply to the extent coverage is
                                 provided for Mortgage Acquisition
                                 Expense or Mortgage Extra
                                 Expense.

      Upon information and belief, Plaintiffs have not paid for the replacement of

the property alleged to have been damaged in the water loss at issue, and actual repair

or replacement is not complete. While preserving its other defenses as stated herein,

and without prejudice thereto, to the extent Plaintiffs sustained unreimbursed

damage compensable under the policy, which is explicitly denied, the measure of

damage is determined at Actual Cash Value until actual repair or replacement is

complete.

                            FOURTEENTH DEFENSE

      The Policy issued by Safeco Insurance Company of Indiana to Prashant

Kalavar and Shweta Manjeshwa, at page 13 of Form HOM-7030/EP 1/09, provides,

in pertinent part:

             12.     Mortgage Clause.

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                     The word “mortgagee” includes trustee. If a
                     mortgagee is named in this policy, any loss payable
                     under Coverage A or B shall be paid to the
                     mortgagee and you, as interests appear. If more than
                     one mortgagee is name, the order of payment shall
                     be the same as the order of precedence of the
                     mortgages.

      While preserving its other defenses as stated herein, and without prejudice

thereto, to the extent Plaintiffs sustained damage to the dwelling beyond that

measured by Safeco, and which is compensable under the Policy, which is explicitly

denied, any amount owed to Plaintiffs pursuant to the Policy for damage to the

dwelling, which amounts are denied, must be paid in accord with the foregoing

Policy provisions.

                              FIFTEENTH DEFENSE

      Plaintiffs’ Complaint fails to specifically state items of special damage

claimed and therefore fails to comply with Fed. R. Civ. P. Rule 9.

                              SIXTEENTH DEFENSE

      Inasmuch as the Complaint does not describe the Plaintiffs’ underlying claims

or damages with sufficient particularity to enable Safeco to determine all of its legal,

contractual and equitable rights, Safeco reserves the right to amend or supplement

the averments of this Answer to assert any and all defenses ascertained through

further investigation and discovery in this action.


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      WHEREFORE, Safeco respectfully demands judgment dismissing

Plaintiffs’ Complaint with prejudice and awarding it such other and further relief as

the Court may deem just and proper, including the fees and costs incurred in

defending this action.

      This 25th day of July 2023.

                                              ISENBERG & HEWITT, P.C.

                                              /s/ Hilary W. Hunter
                                              Hilary W. Hunter
                                              Georgia Bar No. 742696
                                              600 Embassy Row, Suite 150
                                              Atlanta, GA 30328
                                              (770) 351-4400 (O)
                                              hilary@isenberg-hewitt.com
                                              Attorney for Defendant
                                              Safeco Insurance Company
                                              Of Indiana




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                      LOCAL RULE 7.1 CERTIFICATE

      The undersigned counsel hereby certifies that this pleading was prepared with

one of the font and point selections approved by the Court in L.R. 5.1.C.

Specifically, Times New Roman was used in 14 point.

                                      /s/ Hilary W. Hunter
                                      Hilary W. Hunter
                                      Georgia Bar No. 742696
                                      Isenberg & Hewitt, P.C.
                                      600 Embassy Row, Suite 150
                                      Atlanta, Georgia 30328
                                      770-351-4400 - T
                                      Attorney for Defendant




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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

PRASHANT KALAVAR and                          )
SHWETA KALAVAR,                               )
                                              )
       Plaintiff,                             )
                                              )     CIVIL ACTION FILE NO.
vs.                                           )     ______________________
                                              )
SAFECO INSURANCE COMPANY                      )
OF INDIANA                                    )
                                              )
       Defendant.                             )

                         CERTIFICATE OF SERVICE

       I hereby certify that on this day, I electronically filed Defendant Safeco

Insurance of Indiana’s Answer to Plaintiffs Prashant Kalavar’s and Shweta

Kalavar’s Complaint with the Clerk of Court via the CM/ECF system, which will

automatically send e-mail notification of such filing to all parties to this matter as

follows:

                                Carson Jeffries, Esq.
                                 Carter Jeffries LLC
                              cjeffries@moldfirm.com

       This 25th day of July 2023.

                                              ISENBERG & HEWITT, P.C.

                                              /s/ Hilary W. Hunter

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                                     Hilary W. Hunter
                                     Georgia Bar No. 742696
                                     600 Embassy Row, Suite 150
                                     Atlanta, GA 30328
                                     (770) 351-4400 (O)
                                     hilary@isenberg-hewitt.com
                                     Attorney for Defendant
                                     Safeco Insurance Company
                                     Of Indiana




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